Case 1:18-cv-02192-HG-PK   Document 86-22   Filed 04/04/22   Page 1 of 2 PageID #:
                                    2173




                     Exhibit 22
Case 1:18-cv-02192-HG-PK    Document
          Case 16-2119, Document      86-22 Filed
                                 84, 10/21/2016,   04/04/22
                                                 1892692,     Pageof2 330
                                                          Page258     of 2 PageID #:
                                      2174




                                               PX12

 JOINT INTERROGATORY NO. 1:

       State the total number of Funds Transfers you processed for Palestinian FTOs, SDTs and
 SDGTs from the date of designation of those individuals or entities by the United States
 government through December 31, 2007.

        RESPONSE TO JOINT INTERROGATORY NO. 1:

        Arab Bank processed 282 Funds Transfers in which parties identified were either the

 originator or the beneficiary from the date of designation of those individuals or entities by the

 United States government through December 31, 2007.



 JOINT INTERROGATORY NO. 2:

         State the total dollar amount of all Funds Transfers you processed for Palestinian FTOs,
 SDTs and SDGTs from the date of designation of those individuals or entities by the United
 States government through December 31, 2007.

        RESPONSE TO JOINT INTERROGATORY NO. 2:

        Arab Bank processed $2,563,275.00 in Funds Transfers in which parties were either the

 originator or the beneficiary, from the date of designation of those individuals or entities by the

 United States government through December 31, 2007.




                                                                                    JA3828
